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Form ntchrgbk

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                          Case No.: 23−13359−VFP
                                          Chapter: 11
                                          Judge: Vincent F. Papalia

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Bed Bath & Beyond Inc.
   650 Liberty Avenue
   Union, NJ 07083
Social Security No.:

Employer's Tax I.D. No.:
  11−2250488

                                              NOTICE OF HEARING



PLEASE TAKE NOTICE that a hearing will be held at

Courtroom 3B, Martin Luther King, Jr. Federal Building, 50 Walnut Street, 3rd Floor, Newark, NJ 07102

on 7/18/23 at 02:30 PM

to consider and act upon the following:


1157 − Document re: Notice of Assumption of Certain Unexpired Leases (related document:422 Order (Generic))
filed by Michael D. Sirota on behalf of Bed Bath & Beyond Inc.. (Sirota, Michael)

1239 − Limited Objection to TO ASSIGNMENT OF LEASE AND TO PROPOSED CURE COSTS (related
document:1157 Document re: Notice of Assumption of Certain Unexpired Leases (related document:422 Order
(Generic)) filed by Michael D. Sirota on behalf of Bed Bath & Beyond Inc.. filed by Debtor Bed Bath & Beyond
Inc.) filed by Jonathan S. Bodner on behalf of BV Waco Central Texas Marketplace, LLC. (Bodner, Jonathan)

1240 − Objection to TO ASSIGNMENT OF BVCV LEASE TO GOLF & TENNIS PRO SHOP, INC., AND TO
PROPOSED CURE AMOUNTS (related document:1157 Document re: Notice of Assumption of Certain Unexpired
Leases (related document:422 Order (Generic)) filed by Michael D. Sirota on behalf of Bed Bath & Beyond Inc..
filed by Debtor Bed Bath & Beyond Inc.) filed by Jonathan S. Bodner on behalf of BVCV Union Plaza, LLC.
(Bodner, Jonathan)

1291 − Supplemental Objection to Notice of Phase 1 Lease Auction (related document:964 Supplemental Notice of
Phase 1 Lease Auction, Qualified Bids, Lease Sale Hearing, and Related Lease Asset Information in support of
(related document:905 Document filed by Debtor Bed Bath & Beyond Inc.) filed by Michael D. Sirota on behalf of
Bed Bath & Beyond Inc.. filed by Debtor Bed Bath & Beyond Inc., 1114 Document re: Notice of Successful and
Backup Bidder with Respect to the Phase 1 Auction of Certain of the Debtors' Lease Assets and Assumption and
Assignment of Certain Unexpired Leases (related document:422 Order (Generic), 456 Document filed by Debtor
Bed Bath & Beyond Inc., 771 Document filed by Debtor Bed Bath & Beyond Inc., 905 Document filed by Debtor
Bed Bath & Beyond Inc.) filed by Michael D. Sirota on behalf of Bed Bath & Beyond Inc.. filed by Debtor Bed Bath
& Beyond Inc., 1157 Document re: Notice of Assumption of Certain Unexpired Leases (related document:422 Order
(Generic)) filed by Michael D. Sirota on behalf of Bed Bath & Beyond Inc.. filed by Debtor Bed Bath & Beyond
Inc.) filed by James McCartney on behalf of Caparra Center Associates LLC. (Attachments: # 1 Exhibit)
(McCartney, James)
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1293 − First Objection to Assignment of Telegraph Marketplace Partners II LLC's Lease to Burlington Coat Factory
Warehouse Corporation and Objection to Cure Amounts (related document:1157 Document re: Notice of
Assumption of Certain Unexpired Leases (related document:422 Order (Generic)) filed by Michael D. Sirota on
behalf of Bed Bath & Beyond Inc.. filed by Debtor Bed Bath & Beyond Inc.) filed by David Graff on behalf of
Telegraph Marketplace Partners II, LLC. (Attachments: # 1 Exhibit # 2 Certificate of Service) (Graff, David)

1304 − Objection to Assumption and Assignment of Certain Unexpired Leases (related document:1157 Document
re: Notice of Assumption of Certain Unexpired Leases (related document:422 Order (Generic)) filed by Michael D.
Sirota on behalf of Bed Bath & Beyond Inc.. filed by Debtor Bed Bath & Beyond Inc.) filed by Jay L. Lubetkin on
behalf of Mad River Development LLC. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5
Exhibit E # 6 Certificate of Service) (Lubetkin, Jay)

1309 − Limited Objection to Notice of Assumption of Certain Unexpired Leases (related document:1157 Document
re: Notice of Assumption of Certain Unexpired Leases (related document:422 Order (Generic)) filed by Michael D.
Sirota on behalf of Bed Bath & Beyond Inc.. filed by Debtor Bed Bath & Beyond Inc.) filed by Albert Anthony
Ciardi III on behalf of Rainier Colony Place Acquisitions, LLC. (Attachments: # 1 Certificate of Service) (Ciardi,
Albert)

1310 − Objection to Debtors' Notice of Assumption of Certain Unexpired Leases (related document:1157 Document
re: Notice of Assumption of Certain Unexpired Leases (related document:422 Order (Generic)) filed by Michael D.
Sirota on behalf of Bed Bath & Beyond Inc.. filed by Debtor Bed Bath & Beyond Inc.) filed by John S. Mairo on
behalf of U.S. 41 & I−285 Company LLC. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D #
5 Exhibit E) (Mairo, John)

1312 − Objection to Debtors' Notice of Assumption of Certain Unexpired Leases (related document:1157 Document
re: Notice of Assumption of Certain Unexpired Leases (related document:422 Order (Generic)) filed by Michael D.
Sirota on behalf of Bed Bath & Beyond Inc.. filed by Debtor Bed Bath & Beyond Inc.) filed by John S. Mairo on
behalf of DFW Lewisville Partners GP. (Attachments: # 1 Exhibit A) (Mairo, John)

1315 − Objection to (I) Notice of Phase 1 Lease Auction, Qualified Bids, Lease Sale Hearing, And Related Lease
Asset Information; (II) Notice of Successful and Backup Bidder with Respect to the Phase 1 Auction of Certain of
The Debtors Lease Assets and Assumption and Assignment of Certain Unexpired Leases and (III) Notice of
Assumption of Certain Unexpired Leases (related document:905 Document re: Notice of Phase 1 Lease Auction,
Qualified Bids, Lease Sale Hearing, and Related Lease Asset Information (related document:422 Order (Generic),
456 Document filed by Debtor Bed Bath & Beyond Inc.) filed by Michael D. Sirota on behalf of Bed Bath &
Beyond Inc.. filed by Debtor Bed Bath & Beyond Inc., 1114 Document re: Notice of Successful and Backup Bidder
with Respect to the Phase 1 Auction of Certain of the Debtors' Lease Assets and Assumption and Assignment of
Certain Unexpired Leases (related document:422 Order (Generic), 456 Document filed by Debtor Bed Bath &
Beyond Inc., 771 Document filed by Debtor Bed Bath & Beyond Inc., 905 Document filed by Debtor Bed Bath &
Beyond Inc.) filed by Michael D. Sirota on behalf of Bed Bath & Beyond Inc.. filed by Debtor Bed Bath & Beyond
Inc., 1157 Document re: Notice of Assumption of Certain Unexpired Leases (related document:422 Order (Generic))
filed by Michael D. Sirota on behalf of Bed Bath & Beyond Inc.. filed by Debtor Bed Bath & Beyond Inc.) filed by
Leslie Carol Heilman on behalf of CLPF Marketplace, LLC, Brixmor GA Cobblestone Village St. Augustine LLC,
ARC CLORLFL001, LLC. (Attachments: # 1 Exhibit 1) (Heilman, Leslie)

1320 − Objection to /Objection of Landlord, Edison TOCA001 LLC to Debtors' Motion for Order Authorizing
Debtors to Assume and Assign Unexpired Non−Residential Real Property Lease for Store No. 3076 (related
document:714 Document re: Notice to Contract Parties to Potentially Assumed Executory Contracts and Unexpired
Leases (related document:92 Order (Generic)) filed by Michael D. Sirota on behalf of Bed Bath & Beyond Inc.. filed
by Debtor Bed Bath & Beyond Inc., 1157 Document re: Notice of Assumption of Certain Unexpired Leases (related
document:422 Order (Generic)) filed by Michael D. Sirota on behalf of Bed Bath & Beyond Inc.. filed by Debtor
Bed Bath & Beyond Inc.) filed by Robert L. LeHane on behalf of Edison TOCA001 LLC. (LeHane, Robert)

1323 − Objection to /Objection of Pinnacle Hills, LLC to Debtors' Motion for Order Authorizing Debtors to Assume
and Assign Lease for Store No: 1142 (related document:714 Document re: Notice to Contract Parties to Potentially
Assumed Executory Contracts and Unexpired Leases (related document:92 Order (Generic)) filed by Michael D.
Sirota on behalf of Bed Bath & Beyond Inc.. filed by Debtor Bed Bath & Beyond Inc., 1157 Document re: Notice of
Assumption of Certain Unexpired Leases (related document:422 Order (Generic)) filed by Michael D. Sirota on
behalf of Bed Bath & Beyond Inc.. filed by Debtor Bed Bath & Beyond Inc.) filed by Robert L. LeHane on behalf of
Pinnacle Hills, LLC. (LeHane, Robert)

1324 − Objection to / Limited Objection of EDISON BRMA OO1 LLC and EDISON FLFL001 LLC to Motion for
Order Authorizing Debtors to Assume and Assign Leases for Store Nos. 149 and 454 (related document:714
Document re: Notice to Contract Parties to Potentially Assumed Executory Contracts and Unexpired Leases (related
document:92 Order (Generic)) filed by Michael D. Sirota on behalf of Bed Bath & Beyond Inc.. filed by Debtor Bed
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Bath & Beyond Inc., 1157 Document re: Notice of Assumption of Certain Unexpired Leases (related document:422
Order (Generic)) filed by Michael D. Sirota on behalf of Bed Bath & Beyond Inc.. filed by Debtor Bed Bath &
Beyond Inc.) filed by Robert L. LeHane on behalf of EDISON BRMA 001 LLC and EDISON FLFL001 LLC.
(LeHane, Robert)

1326 − / Opposition of HGREIT II Edmondson Road, LLC to Debtors' Motion for Order Authorizing Debtors to
Assume and Assign Unexpired Non−Residential Real Property Lease for Store No. 301 in Opposition to (related
document:714 Document re: Notice to Contract Parties to Potentially Assumed Executory Contracts and Unexpired
Leases (related document:92 Order (Generic)) filed by Michael D. Sirota on behalf of Bed Bath & Beyond Inc.. filed
by Debtor Bed Bath & Beyond Inc., 1157 Document re: Notice of Assumption of Certain Unexpired Leases (related
document:422 Order (Generic)) filed by Michael D. Sirota on behalf of Bed Bath & Beyond Inc.. filed by Debtor
Bed Bath & Beyond Inc.) filed by Robert L. LeHane on behalf of HGREIT II Edmondson Road, LLC. (LeHane,
Robert)

1328 − Limited Objection to /Limited Objection and Joinder of Regency Centers L.P. and Daly City Serramonte
Center, LLC to Debtors' Motion for Order Authorizing Debtors to Assume and Assign Unexpired Non−Residential
Real Property Leases for Store Nos. 3108 and 385 (related document:714 Document re: Notice to Contract Parties to
Potentially Assumed Executory Contracts and Unexpired Leases (related document:92 Order (Generic)) filed by
Michael D. Sirota on behalf of Bed Bath & Beyond Inc.. filed by Debtor Bed Bath & Beyond Inc., 1157 Document
re: Notice of Assumption of Certain Unexpired Leases (related document:422 Order (Generic)) filed by Michael D.
Sirota on behalf of Bed Bath & Beyond Inc.. filed by Debtor Bed Bath & Beyond Inc.) filed by Robert L. LeHane on
behalf of Daly City Serramonte Center, LLC, Regency Centers, L.P. (LeHane, Robert)

1329 − Limited Objection to /Limited Objection of SITE Centers Corporation to Debtors' Notice of Assumption of
Certain Unexpired Leases (related document:714 Document re: Notice to Contract Parties to Potentially Assumed
Executory Contracts and Unexpired Leases (related document:92 Order (Generic)) filed by Michael D. Sirota on
behalf of Bed Bath & Beyond Inc.. filed by Debtor Bed Bath & Beyond Inc., 1157 Document re: Notice of
Assumption of Certain Unexpired Leases (related document:422 Order (Generic)) filed by Michael D. Sirota on
behalf of Bed Bath & Beyond Inc.. filed by Debtor Bed Bath & Beyond Inc.) filed by Robert L. LeHane on behalf of
SITE Centers Corp.. (LeHane, Robert)

1330 − Objection to of Kite Realty Group to Debtors Motion for Order Authorizing the Debtors to Assume and
Assign Non−Residential Real Property Leases for Store Nos. 591, 1405 and 3131 (related document:1157 Document
re: Notice of Assumption of Certain Unexpired Leases (related document:422 Order (Generic)) filed by Michael D.
Sirota on behalf of Bed Bath & Beyond Inc.. filed by Debtor Bed Bath & Beyond Inc.) filed by Robert L. LeHane on
behalf of Kite Realty Group. (LeHane, Robert)

1331 − Objection to of SIPOC LLC and Benderson Development Company, LLC to Motion for Order Authorizing
Debtors to Assume and Assign Lease for Store No. 1268 (related document:1157 Document re: Notice of
Assumption of Certain Unexpired Leases (related document:422 Order (Generic)) filed by Michael D. Sirota on
behalf of Bed Bath & Beyond Inc.. filed by Debtor Bed Bath & Beyond Inc.) filed by Robert L. LeHane on behalf of
SIPOC LLC, Benderson Development Company. (LeHane, Robert)




Dated: 7/13/23

                                                         Jeanne Naughton
                                                         Clerk, U.S. Bankruptcy Court
